         Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                *
 VIVIAN TZOC SANTAY,                            *
                                                *
                Plaintiff,                      *
                                                *
                v.                              *
                                                *   Civil Action No. 24-cv-11583-ADB
                                                *
 ICE HOUSE LLC d/b/a                            *
 ICE HOUSE SPORTS BAR                           *
                                                *
                Defendant.                      *
                                                *
                                                *
                                                *



                               MEMORANDUM AND ORDER

BURROUGHS, D.J.

       Plaintiff Vivian Tzoc Santay (“Plaintiff” or “Tzoc Santay”) brings this action against her

former employer, Defendant Ice House LLC d/b/a Ice House Sports Bar (“Ice House” or

“Defendant”), alleging that her supervisor, Mr. Nieves, discriminated against her on the basis of

race, national origin, and sex and failed to pay earned and overtime wages in violation of

Massachusetts and federal law. Currently before the Court is Defendant’s partial motion to

dismiss for failure to state a claim. See [ECF No. 8 (“Mot.”)]. For the reasons set forth below,

Defendant’s motion is GRANTED IN PART and DENIED IN PART.

  I.   BACKGROUND

       The following relevant facts are taken primarily from the well-pleaded allegations in

Plaintiff’s Complaint, [ECF No. 1 (“Complaint”) or (“Compl.”)], which the Court, as it must,
         Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 2 of 12




assumes to be true, drawing all reasonable inferences in Plaintiff’s favor, when considering a

motion to dismiss. Ruivo v. Wells Fargo Bank, N.A., 766 F.3d 87, 90 (1st Cir. 2014).

            A.      Factual Background

        Plaintiff, a non-English-speaking Black woman of Guatemalan origin, worked for

Defendant from October 2021 until March 16, 2023. See [Compl. ¶¶ 3–4, 32]. During that time,

her supervisor, Mr. Nieves, often made offensive comments to Plaintiff in Spanish. See [id. ¶ 7].

For example, he would regularly tell her:

            •    “You are a nobody in this country.”

            •    “You have to do what I tell you.”

            •    “You don’t have papers.”

            •    “You don’t pay taxes.”

            •    “Whenever I want, I can call immigration.”

            •    “I am Puerto Rican; [I] grew up in New York; you don’t have papers and we can

                 throw you out of here at any time.”

            •    “We Puerto Ricans have all the rights, buy a house, go on a trip, you don’t have

                 papers; you can be deported at any moment.”

[Id.]. On one occasion, after Plaintiff complained of a toothache, Mr. Nieves said he knew a

dentist, but that the dentist “was for U.S. citizens only.” [Id. ¶ 8].

        On more than one occasion, Mr. Nieves showed Plaintiff videos and pictures of male and

female genitalia, as well as regularly made sexual comments, which Plaintiff found to be

extremely unwelcome and made her feel uncomfortable and unsafe. See [Compl. ¶¶ 9–13]. For

example, on one occasion, Mr. Nieves showed Plaintiff a video of women with tattooed backs

and told Plaintiff certain tattoos mean a woman is “for sale.” [Id. ¶ 12]. He then suggested that

                                                   2
         Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 3 of 12




Plaintiff get such a tattoo and “put on a short blouse,” and said that he would “be [Plaintiff’s]

first customer.” [Id.]. On other occasions, Mr. Nieves asked Plaintiff if she was “horny,” [id.

¶ 14], described his sex life with his wife and his wife’s buttocks implants in detail, [id. ¶¶ 14,

16], said women who “dress in office clothes” turn him on, [id. ¶ 15], asked Plaintiff to say the

names of sexual parts in K’iche’, a language Plaintiff speaks, [id. ¶ 17], and told Plaintiff that he

had “two women,” referring to his wife at home and Plaintiff at work, [id. ¶ 18]. Mr. Nieves also

physically touched Plaintiff’s behind twice. [Id. ¶ 19]. When she asked why he touched her

inappropriately, he replied, “It’s not my fault that you have a big ass,” and, “I am a man; it is not

my fault you provoke me.” [Id.].

       Plaintiff always rejected Mr. Nieves’s advances, which caused him to become angry and

upset with her and eventually to threaten her. [Compl. ¶¶ 21–22]. For example, Mr. Nieves

often told Plaintiff that he had been in jail, his son was in prison, and that he was not afraid to

“do things,” elaborating by saying, “[i]f I ever wanted to do something to someone, I would do it

to their children,” and, “I wouldn’t hurt my enemy, but I would hurt his family.” [Id. ¶¶ 23–25].

One day, Mr. Nieves showed Plaintiff a knife and told her, “I am well protected because here,

you never know, nobody messes with me. I have my knife; they taught me to fight in jail.” [Id.

¶ 26]. On another occasion, Mr. Nieves told Plaintiff that his wife carries a gun and that he knew

“where to stick [a] knife.” [Id. ¶ 27].

       While Plaintiff worked at Ice House, she was paid in cash, and not paid for overtime.

[Compl. ¶ 28]. She also never received any benefits, including sick days, vacations and meal

breaks. [Id. ¶ 29]. She complained to Mr. Nieves about not being paid overtime and benefits

like her coworkers, [id. ¶ 31], and shortly thereafter, on March 16, 2023, Mr. Nieves informed

her that she had been terminated for complaining about being underpaid, [id. ¶ 32].

                                                  3
           Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 4 of 12




            B.     Procedural History

       Plaintiff filed this action against Defendant on June 18, 2024. See [Compl.]. The

Complaint asserts fifteen counts, which include:

       •    race, national origin, and sex discrimination in violation Massachusetts
            General Laws Chapter 151B (“Chapter 151B”) and Title VII of the Civil
            Rights Act of 1964 (“Title VII”), see [Compl. ¶¶ 35–48 (Counts I and II
            alleging racial discrimination)]; [id. ¶¶ 49–62 (Counts III and IV alleging
            national origin discrimination)]; [id. ¶¶ 63–76 (Counts V and VI alleging
            sex discrimination)]; [id. ¶¶ 77–84 (Counts VII and VIII alleging sexual
            harrassment)] 1;
       •    retaliation in violation of Chapter 151B and Title VII, [id. ¶¶ 85–92 (Counts
            IX and X)];
       •    failure to pay earned wages in violation of Massachusetts General Laws
            Chapter 149, §§ 148 and 150, [id. ¶¶ 93–98 (Count XI)];
       •    failure to pay overtime wages in violation of Massachusetts General Laws
            Chapter 151, § 1A [id. ¶¶ 99–102 (Count XII)];



1
  Plaintiff brings two claims captioned “Sex Discrimination,” one under Title VII and one under
Chapter 151B. [Compl. ¶¶ 63–76 (Counts V and VI)]. Plaintiff also brings two claims captioned
“Sexual Harassment,” again under Title VII and Chapter 151B. [Id. ¶¶ 77–84 (Counts VII and
VIII]). Defendants moved to dismiss Counts V and VI but not Counts VII and VIII. [ECF No. 8
at 1; ECF No. 9 at 2 n.2 (“Plaintiff’s sexual harassment claims . . . are not the subject of the
instant motion.”)].

Sexual harassment is considered to be a form of sex-based discrimination. Perez-Cordero v.
Wal-Mart P.R., Inc., 656 F.3d 19, 26 (1st Cir. 2011); Melnychenko v. 84 Lumber Co., 676
N.E.2d 45, 48 (Mass. 1997) (“[S]exual harassment . . . is by legislative direction a form of sexual
discrimination.”). Moreover, Plaintiff’s “sexual harassment” claims, like the “sex
discrimination” claims, are predicated on disparate treatment and hostile work environment
theories. [Id. ¶¶ 79, 83 (“The Defendant terminated Plaintiff because of her refusal to engage in
the sexual harassment she was subjected to by her manager.”)]; [id. ¶¶ 78, 82 (“The Plaintiff was
subjected to sexual harassment, which had the purpose of creating a hostile and humiliating work
environment[.]”)].

Because Defendant moved to dismiss only the “sex discrimination” claims, not the “sexual
harassment” claims, the Court here assesses only the sex discrimination claims. That said, the
parties are advised that these counts are duplicative of one another, and the same analysis would
apply to the sexual harassment counts.
                                                  4
           Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 5 of 12




       •    failure to pay overtime wages in violation of the Fair Labor Standards Act
            (“FLSA”), 29 U.S.C. § 207, [id. ¶¶ 103–06 (Count XIII)];
       •    wage-based retaliation in violation of Massachusetts General Laws Chapter
            149, §§ 148 and 150 and Chapter 151, § 1A, [id. ¶¶ 107–10 (Count XIV)];
            and,
       •    wage-based retaliation in violation of the FLSA, [id. ¶¶ 111–14 (Count
            XV)].
Defendant moved for dismissal for failure to state a claim under Federal Rule of Civil Procedure

12(b)(6) on July 19, 2024, seeking to dismiss only Counts I–VI, Count XII, and Count XIV. See

[Mot.]. Plaintiff opposed Defendant’s motion on August 23, 2024. [ECF No. 12].

 II.   STANDARD OF REVIEW

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a

complaint “must provide ‘a short and plain statement of the claim showing that the pleader is

entitled to relief.’” Cardigan Mt. Sch. v. N.H. Ins. Co., 787 F.3d 82, 84 (1st Cir. 2015) (quoting

Fed. R. Civ. P. 8(a)(2)). This pleading standard requires “more than labels and conclusions,”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007), and “[t]hreadbare recitals of the elements

of a cause of action, supported by mere conclusory statements, do not suffice.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). Rather, a complaint “must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting Twombly,

550 U.S. at 570).

       When evaluating the sufficiency of a complaint, the Court “first must ‘distinguish the

complaint’s factual allegations (which must be accepted as true) from its conclusory legal

allegations (which need not be credited).’” Cardigan Mt. Sch., 787 F.3d at 84 (further internal

quotations and citation omitted) (quoting García-Catalán v. United States, 734 F.3d 100, 103 (1st

Cir. 2013)). “Second, the court must determine whether the factual allegations are sufficient to

support the reasonable inference that the defendant is liable for the misconduct alleged.” García-
                                                5
             Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 6 of 12




    Catalán, 734 F.3d at 103 (internal quotations and citation omitted). In conducting this analysis,

    the Court must accept all well-pleaded facts as true and analyze those facts in the light most

    favorable to the plaintiff’s theory, drawing all reasonable inferences in favor of the plaintiff.

    U.S. ex rel. Hutcheson v. Blackstone Med., Inc., 647 F.3d 377, 383 (1st Cir. 2011).

III.       DISCUSSION

               A.      Title VII and Chapter 151B Claims (Counts I–VI) 2

           Plaintiff asserts that Defendant discriminated against her on the basis of race, national

    origin, and sex in violation of Title VII and Chapter 151B. Specifically, Plaintiff alleges

    disparate treatment and hostile work environment claims, alleging for each protected class that 1)

    she was fired “because of” her membership in that protected class, [Compl. ¶¶ 40, 47 (race

    discrimination); 54, 61 (national origin discrimination); 68, 3 75 (sex discrimination)]; and, 2) she

   was subjected to discrimination “which had the purpose of creating a hostile and humiliating

    work environment,” [id. ¶¶ 38, 45 (race discrimination); 52, 59 (national origin discrimination);

    66, 73 (sex discrimination)]. Defendant asserts that Plaintiff has failed to state a claim under

    either of these statutes for any protected class because she has failed to allege that she suffered

    an adverse employment action “based upon her protected class” or that “there lies some plausible




    2
     “[T]he Massachusetts Supreme Judicial Court typically applies Federal case law construing the
    Federal anti-discrimination statutes in interpreting G.L. ch. 151B.” Stratton v. Bentley Univ.,
    113 F.4th 25, 41 n.10 (1st Cir. 2024) (cleaned up).
    3
     This paragraph reads that “[t]he Defendant terminated Plaintiff because of her national origin.”
   [Compl. ¶ 68]. Given that the paragraph falls within the claim for sex discrimination, the Court
   will assume, favorably to Plaintiff, this was a typographical error and that the paragraph should
   read that “Defendant terminated Plaintiff because of her sex.”

                                                      6
           Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 7 of 12




causal connection between her protected class and the alleged hostile work environment.” [ECF

No. 9 at 4, 6].

                       1.   Disparate Treatment

          To make out a prima facie case for disparate treatment under either Title VII or Chapter

151B, a plaintiff must show: “(1) she is a member of a protected class; (2) she was qualified for

her position; (3) her employer took an adverse employment action against her; and (4) some

evidence of a causal link between her protected status and the adverse employment action.”

Evans v. Staples, Inc., 375 F. Supp. 3d 117, 123 (D. Mass. 2019) (citing Bhatti v. Trs. of Bos.

Univ., 659 F.3d 64, 70 (1st Cir. 2011)). Although, at the pleading stage, a plaintiff is not

required to plead facts sufficient to establish a prima facie case, the prima facie elements “are

part of the background against which a plausibility determination should be made.” Id. (quoting

Rodriguez-Reyes v. Molina-Rodriguez, 711 F.3d 49, 54 (1st Cir. 2013)). “At this stage, a

‘plaintiff must allege a series of facts which at the very least gives rise to an inference of

discriminatory animus.’” Id. at 124 (quoting Johnson v. Gen. Elec., 840 F.2d 132, 138 (1st Cir.

1988), abrogated on other grounds by Clockedile v. N.H. Dep’t of Corr., 245 F.3d 1 (1st Cir.

2001)).

          Plaintiff alleges that she is a member of protected classes based on her race (Black),

national origin (Guatemalan), and sex (female), [Compl. ¶ 3], and Defendant does not contest

that she was qualified for her position, see generally [ECF No. 9]. Plaintiff also alleges that she

was terminated, which is “the quintessential adverse employment action.” Rios v. Centerra Grp.

LLC, 106 F.4th 101, 113 (1st Cir. 2024); see also [Compl. ¶ 32]. Plaintiff does not, however,

allege any facts from which the Court can draw the inference that Defendant terminated her




                                                   7
         Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 8 of 12




because of her race, national origin, or sex. 4 To the contrary, the Complaint specifically

attributes Plaintiff’s firing not to any protected class but instead to her complaints about not

being paid overtime in two separate places, and Plaintiff has not alleged any facts to indicate that

this firing was a pretext for discrimination. [Id. ¶¶ 6 (“During the summer of 2022 and until her

termination for complaining about the Defendant’s failure to pay her overtime in fall of

2023. . .”); 32 (“Mr. Nieves informed [Plaintiff] that she was terminated for complaining that she

was underpaid.”)]. Because Plaintiff has not pled any facts from which the Court could plausibly

infer causation, and has not alleged that Mr. Nieves’s explanation was pretext for an improper

basis, Plaintiff’s race-based, national origin-based, and sex-based discrimination claims for

disparate treatment fail. Daniels v. Alvaria, Inc., No. 23-cv-10419-DJC, 2024 WL 758172, at *9

(D. Mass. Feb. 23, 2024) (dismissing discrimination claim where plaintiff provided “no factual

basis” to support “conclusory allegations of disparate treatment”); Bottomley v. Bos. Pub. Sch.,

No. 17-cv-12107-LTS, 2018 WL 6682764, at *3 (D. Mass. Dec. 19, 2018) (same).

                     2.   Hostile Work Environment

       The elements of a claim for hostile work environment under Title VII or Chapter 151B

are that (1) the plaintiff is a member of a protected class, (2) she was subjected to unwelcome

harassment, (3) the harassment was based on the protected status, (4) “the harassment was so

severe or pervasive as to create an abusive work environment,” and (5) “the harassment was

objectively and subjectively offensive.” Avci v. Brennan, 285 F. Supp. 3d 437, 442 (D. Mass.



4
  As discussed supra, within each cause of action, Plaintiff does plead that she was terminated
“because of” her race, national origin, and sex. These “[t]hreadbare recitals of the elements of a
cause of action, supported by mere conclusory statements, do not suffice,” even at this
preliminary stage. Iqbal, 556 U.S. at 678; see also Johnson, 840 F.2d at 138 (“Complaints based
on civil rights statutes must do more than state simple conclusions; they must at least outline the
facts constituting the alleged violation.”).
                                                  8
         Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 9 of 12




2018) (quoting Prescott v. Higgins, 538 F.3d 32, 42 (1st Cir. 2008)). Assessing “whether a work

environment is hostile requires a fact-specific analysis of the ‘frequency of the discriminatory

conduct; its severity; whether it is physically threatening or humiliating, or a mere offensive

utterance; and whether it unreasonably interferes with an employee’s work performance.’”

Dexter v. Dealogic, LLC, 390 F. Supp. 3d 233, 242 (D. Mass. 2019) (quoting Thompson v.

Coca-Cola Co., 522 F.3d 168, 180 (1st Cir. 2008)). To plausibly state a claim for hostile work

environment, “[t]he alleged conduct must be ‘sufficiently severe or pervasive to alter the

conditions of the victim’s employment and create an abusive working environment.’” Allard v.

Citizens Bank, 608 F. Supp. 2d 160, 166 (D. Mass. 2009) (quoting Oncale v. Sundowner

Offshore Servs., Inc., 523 U.S. 75, 78 (1998)); see also Posada v. ACP Facility Servs., Inc., 389

F. Supp. 3d 149, 157 (D. Mass. 2019).

       There are two components to the hostile work environment inquiry: subjective and

objective. Allard, 608 F. Supp. 2d at 166. For the subjective component, “the plaintiff must

demonstrate that she actually perceived the environment to be hostile or abusive as a result of the

defendant's conduct.” Id. (citing Harris v. Forklift Sys., Inc., 510 U.S. 17, 21–22 (1993)). For

the objective component, the plaintiff must demonstrate that the “alleged conduct was

sufficiently severe or pervasive that a reasonable person would perceive the environment to be

hostile or abusive.” Id. (citing Harris, 510 U.S. at 21–22).

       The weight of Plaintiff’s allegations center on Mr. Nieves’ sexual harassment and, taken

together, state a plausible claim for hostile work environment. Regarding the subjective

component, Plaintiff has pled that she found the “sexual comments to be extremely unwelcome,”

[Compl. ¶ 10], and that the comments “made her feel extremely uncomfortable and unsafe,” [id.

¶ 13]. As to the objective component, Plaintiff has stated a plausible claim that a reasonable

                                                 9
        Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 10 of 12




person would feel humiliated and demeaned by the facts alleged. She has pled that the sexual

harassment was “continuous and pervasive,” [id. ¶ 6], consisting of Mr. Nieves making sexual

comments, touching Plaintiff inappropriately, and showing her pictures and videos of male and

female genitalia at work, [id. ¶¶ 9–20]. She has also pled that, upon rejecting his advances, Mr.

Nieves became “angry and upset” and “began . . . threatening her” and her family. [Id. ¶¶ 21–

27]. Viewing the allegations in the light most favorable to Plaintiff, a reasonable person would

perceive the environment created by Mr. Nieves, based on his sexual comments and conduct, to

be humiliating, demeaning, and hostile. The “cumulative effect” of the intimidation and

humiliation provides sufficient objective indicia of a hostile work environment. See Posada, 389

F. Supp. 3d at 159; see also Valentin-Almeyda v. Mun. of Aguadilla, 447 F.3d 85, 94 (1st Cir.

2006) (in bringing a claim for sex-discrimination predicated on hostile work environment,

“[a]lthough offhand remarks and isolated incidents are not enough, ‘[e]vidence of sexual

remarks, innuendoes, ridicule, and intimidation may be sufficient to support a jury verdict for a

hostile work environment’”) (quoting O’Rourke v. City of Providence, 235 F.3d 713, 729 (1st

Cir. 2001)) (second alteration in original).

       Although a closer call, at this stage, Plaintiff has also plausibly pled a claim for hostile

work environment premised on national origin. Plaintiff has pled that Mr. Nieves “often made

offensive comments in Spanish” toward Plaintiff, including that “she was worthless” and “a

nobody in this country.” [Compl. ¶ 7]. Mr. Nieves would also threaten Plaintiff by telling her

that she did not “have papers,” that he could “call immigration” whenever he wanted, that she

could “be deported at any moment,” and that she “didn’t have any rights because she is not a

U.S. citizen.” [Id.]. Viewing the allegations in the light most favorable to Plaintiff, it is

plausible that this recurring conduct was both objectively and subjectively offensive because a

                                                  10
        Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 11 of 12




reasonable person would feel intimidated, humiliated, and demeaned by threats of deportation

and other immigration-based comments from a supervisor, and Plaintiff plausibly alleges that she

in fact felt that way. Cabi v. Bos. Children’s Hosp., 161 F. Supp. 3d 136, 153 (D. Mass. 2016)

(stating that the allegedly “frequent and regular nature” of defendant’s comments, which were

“sex-based, ethnicity-based, race-based, and national-origin based,” “supports a finding that the

harassment was pervasive” (cleaned up)).

       Plaintiff has not, however, pled a plausible claim for hostile work environment based on

race. Plaintiff’s complaint is devoid of any factual allegations as to her race other than that she is

Black. See [Compl. ¶ 3]; see generally [id.]. Without additional allegations to establish that Mr.

Nieves engaged in racially motivated harassment, Plaintiff has not plausibly pled a hostile work

environment based on race.

       Because Plaintiff has pled viable hostile work environment claims under Title VII and

Chapter 151B on the basis of sex and national origin, Defendant’s motion to dismiss as to Counts

III–VI is DENIED. Defendant’s motion to dismiss is GRANTED as to Counts I and II, which

are premised on race-based discrimination, given that Plaintiff has not pled a viable

discrimination claim for disparate treatment or hostile work environment based on her race.

           B.      Wage Violations (XII and XIV)

       Defendant also moves to dismiss Counts XII and XIV, which state claims arising under

Massachusetts General Laws Chapter 151 § 1A (the “Massachusetts Overtime Law”). [ECF No.

8; ECF No. 9 at 9]. Plaintiff concedes the dismissal of these two claims. [ECF No. 12 at 5]. As

such, Defendant’s motion to dismiss as to Counts XII and XIV is GRANTED.




                                                 11
           Case 1:24-cv-11583-ADB Document 13 Filed 11/15/24 Page 12 of 12




IV.       CONCLUSION

          For the reasons set forth above, Defendant’s partial motion to dismiss is GRANTED as

   to Counts I, II, XII, and XIV and DENIED as to Counts III, IV, V, and VI.

          SO ORDERED.

   November 15, 2024                                         /s/ Allison D. Burroughs
                                                             ALLISON D. BURROUGHS
                                                             U.S. DISTRICT JUDGE




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